Case 3:23-cv-00223-JO-DDL Document 197 Filed 06/06/24 PagelD.1850 Page 1 of 1

QAO 154 (10/03) Substitution of Attomsy

UNITED STATES DISTRICT COURT

SOUTHERN District of. CALIFORNIA
TRS SERGIALOO., LEB CONSENT ORDER GRANTING
Plaintiff (6), SUBSTITUTION OF ATTORNEY
V.
TWINS SPECIAL, LLC, ET AL CASE NUMBER: 23¢v223-JO-DDL
Defendant (s),
Notice is hereby given that, subject to approval by the court, Nicholas and Christopher Mechling _ substitutes
. (Pasty (0) Nome)
Stephen B. Morris , State Bar No, 126192 as counsel of record in
(Name of New Attemey)
place of Nicholas Mechling and Christopher Mechiing, in pro per
(Namo of Attomey (0) Withdrawing Appearance)

Contact information for new counsel is as follows: _

Firm Name: The Law Offices of Stephen B.; Morris

Address: 147 Elm Avenue, Imparial Beach, CA 91932

Telephone: (619) 985-4462 Facsimile

E-Mail (Optional); _Smorris@ stephenbmorrislaw.com
I consent to the above substitution. Airholae Vilactbeivegy Chrsctoyoher. Vachling,

(Signature of Pasty (9)
I consent to being substituted. Mecholas Vilrclling Chaiztopstar Vilechbivg.
Date: 6/6/2024
(Signsture of Former Attomsy (s))
I consent to the above substitution. .
Date: 6/6/2024 GS Soe
(Signature of New Attomsy)
The substitution of attorney is hereby approved and so ORDERED.
Date:
Judge

[Note: A separate consent order of substitution must be filled by cach mew attorney wishing to enter an appearance.]

